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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                §
                                      §
WATSON GRINDING &                     §          CASE NO. 20-39950
MANUFACTURING CO.,                    §
                                      §          (Chapter 11)
     Debtor.                          §



JUAN SANTILLANA, LAURA               §
SANTILLANA, LAURA                    §
SANTILLANA, AND MICHELLE             §
SANTILLANA,                          §
                                     §
        Plaintiffs,                  §
                                     §           ADVERSARY NO. __________
v.                                   §
                                     §
WATSON VALVE SERVICES, INC.,         §
WATSON GRINDING AND                  §
MANUFACTURING CO., KMHJ,             §
LTD., KMHJ MANAGEMENT                §
COMPANY, LLC, ARC                    §
SPECIALTIES, INC., AUTOMATION        §
PLUS, INC., AUTOMATION               §
PROCESS, INC., FIRESTONE             §
CRYOGENICS, INC., FIRESTONE          §
CRYOGENIC EQUIPMENT, INC.,           §
TELEDYNE TECHNOLOGIES,               §
INC., F/K/A DETCON INC.,             §
TELEDYNE EXPLORATION                 §
COMPANY, DETCON, INC. D/B/A          §
OLDHAM, TELEDYNE DETCON,             §
INC., 3M COMPANY, TRCC, LLC,         §
DATAONLINE, LLC, AND                 §
INDUSTRIAL SCIENTIFIC                §
CORPORATION,                         §
                                     §
        Defendants.                  §
                                     §




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                                        NOTICE OF REMOVAL

        Watson Grinding & Manufacturing Co. (the “Debtor”) files this Notice of Removal of the

state court action styled Juan Santillana, Laura Santillana, Laura Santillana, and Michelle Santillana, vs.

Watson Valve Services, Inc., Watson Grinding and Manufacturing Co., KMHJ, LTD., KMHJ Management

Company, LLC, Arc Specialties, Inc., Automation Plus, Inc., Automation Process, Inc., Firestone Cryogenics, Inc.,

Firestone Cryogenic Equipment, Inc., Teledyne Technologies, Inc. f/k/a Detcon Inc., Teledyne Exploration

Company, Detcon, Inc. d/b/a Oldham, Teledyne Detcon, Inc., 3m Company, TRCC, LLC, Dataonline, LLC,

and Industrial Scientific Corporation, Cause No. 2020-39950, pending in the 125th Judicial District Court

of Harris County, Texas (the “State Court Action”).

                            I.       Procedural Background and Nature of Suit

        1.       On July 6, 2020, Juan Santillana, Laura Santillana, Laura Santillana, and Michelle

Santillana, (collectively, the “Plaintiffs”) filed an Original Petition (the “Original Petition”) against

Watson Valve Services, Inc., Watson Grinding and Manufacturing Co., KMHJ, LTD., KMHJ

Management Company, LLC, Arc Specialties, Inc., Automation Plus, Inc., Automation Process, Inc.,

Firestone Cryogenics, Inc., Firestone Cryogenic Equipment, Inc., Teledyne Technologies, Inc. f/k/a

Detcon Inc., Teledyne Exploration Company, Detcon, Inc. d/b/a Oldham, Teledyne Detcon, Inc.,

3m Company, TRCC, LLC, Dataonline, LLC, and Industrial Scientific Corporation (collectively, the

“Defendants”). In their Original Petition, the Plaintiffs assert claims of negligence, gross negligence,

and/or products liability - design defect against the Defendants.

        2.       On July 9, 2020, KMHJ, Ltd. and KMHJ Management Company, LLC, filed their

Original Answer.

        3.       On February 6, 2020 (the “Petition Date”), the Debtor filed its Voluntary Petition

under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”), commencing the

bankruptcy case captioned In re Watson Grinding & Manufacturing Co., Case No. 20-30967, pending in

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the United States Bankruptcy Court for the Southern District of Texas, Houston Division (the

“Chapter 11 Bankruptcy Case”).

                                        II.      Basis for Removal

         4.     This Notice of Removal is filed pursuant to 28 U.S.C. § 1452, Bankruptcy Rule 9027,

and Local Bankruptcy Rules 9027-1, 9027-2, 9027-3, and the General Order of Reference entered by the

District Court of this District on March 10, 2005.

         5.     The State Court Action was initiated after the commencement of the Chapter 11 Case.

This Notice of Removal has been timely filed pursuant to Bankruptcy Rule 9027(a)(2). In re R.E. Loans,

LLC, No. 11-35865, 2012 WL 3262767, at *2 (Bankr. S.D. Tex. Aug. 8, 2012).

         6.     Venue in this Court is proper pursuant to 28 U.S.C. § 1409.

         7.     Cases subject to jurisdiction are removable under the authority of 28 U.S.C. § 1452(a)

(“A party may remove any claim or cause of action…to the district court for the district where such

civil action is pending, if such district court has jurisdiction of such claim or cause of action under

section 1334 of this title”). The State Court Action, including all claims and causes of action asserted

therein, is a civil action other than a proceeding before the United States Tax Court. The State Court

Action is not a civil action by a government unit to enforce such government unit’s police or regulatory

power.

         8.     This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1334(b) (federal

district courts have “original jurisdiction of all civil proceedings…arising in or related to cases under

title 11”). The State Court Action “arises in” or, alternatively, is “related to” a Title 11 case, i.e. the

Debtor’s Chapter 11 Bankruptcy Case. In this circuit, “related to” proceedings include any case whose

outcome “could conceivably have any effect on the administration of the estate.” In re Wood, 825 F.2d

90, 93 (5th Cir. 1987) (emphasis added); In re Baudoin, 981 F.2d 736, 740 (5th Cir. 1993).




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          9.     The resolution of this State Court Action will have a direct impact on the bankruptcy

estate of the Debtor. The State Court Action is related to the Debtor’s Chapter 11 Bankruptcy Case

because the outcome of State Court Action could conceivably change the Debtor’s rights, liabilities,

or options in a way that would have an effect upon the handling and administration of the bankruptcy

estate.

          10.    Thus, the claims asserted in the State Court Action are claims that arise in or are

otherwise related to the Debtor’s Chapter 11 Case pursuant to 28 U.S.C. § 1334(b), and removal to

this Court is proper pursuant to 28 U.S.C. § 1452(a).

                          III.    Core or Non-Core Bankruptcy Jurisdiction

          11.    This action involves the administration of the Debtor’s estate and is a proceeding

affecting the adjustment of the debtor-creditor relationship; it is, therefore, a core proceeding under

28 U.S.C. § 157(b)(2)(A)(B)(C) and (O). The claims and causes of action in the State Court Action

have a clear and direct impact on the interests and property of the Debtor’s estate under 11 U.S.C. §

541.

          12.    Upon removal of the State Court Action, the Debtor consents to the entry of final

orders or judgment by the bankruptcy judge.

                                       IV.     Parties and Notice

          13.    Pursuant to 28 U.S.C. § 1452(a), Federal Bankruptcy Rule 9027(b), and Local Rule

9027-1, all adverse parties are being provided with a copy of this Notice of Removal and a copy of

this Notice of Removal is being filed with the clerk of the 125th Judicial District Court of Harris

County, Texas.

          14.    In accordance with Local Rule 9027-1(a), the names and addresses of the parties and

counsel in the State Court Action, who have or will be served with the notice, are as follows:




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       15.     counsel in the State Court Action, who have or will be served with the notice, are

as follows:

 McMillan Firm, P.L.L.C                               McCoy Leavitt Laskey LLC
 Chance A. McMillan                                   John V. McCoy
 440 Louisiana Street, Suite 1200                     Michael I. Ramirez
 Houston, Texas 77002-1691                            N19 W24200 Riverwood Dr., Suite 125
                                                      Waukesha, WI 53188
 The Law Offices of Hilda Sibrian, P.C.
 Hilda Sibrian                                        ATTORNEYS FOR WATSON GRINDING &
 846 North Loop,                                      MANUFACTURING CO.
 Houston, Texas 77009
                                                      Gieger, Laborde & Laperouse L.L.C.
 ATTORNEYS FOR PLAINTIFFS                             Ernest P. Gieger, Jr.
                                                      701 Poydras Street, Suite 4800
                                                      New Orleans, Louisiana 70139

                                                      ATTORNEYS FOR WATSON VALVE SERVICES,
                                                      INC.
 Jackson Walker L.L.P.
 Bruce J. Ruzinsky
 1401 McKinney, Suite 1900
 Houston, Texas 77010

 The Silvera Firm
 Robert C. Turner
 17070 Dallas Parkway, Suite 100
 Dallas, Texas 75248

 ATTORNEYS FOR KMHJ, LTD. AND KMHJ
 MANAGEMENT COMPANY, LLC


                                    V.      Process and Pleadings

       16.     Pursuant to Bankruptcy Rule 9027(a)(1) and Local Bankruptcy Rule 9027-1(b), true

and correct copies of all process and pleadings filed in the State Court Action (as set forth in the

attached Exhibit “A”) have been provided to this Court.

       17.     In the State Court Action, citations were issued on July 7, 2020. No return of citations

have been returned.




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       18.     In accordance with Bankruptcy Rule 9027(c), the Debtor will promptly file a notice of

the filing of this Notice of Removal in the State Court Action.

       WHEREFORE, the Debtor notifies the United States Bankruptcy Court for the Southern

District of Texas, Houston Division, that the State Court Action is hereby removed in its entirety to

this Court pursuant to 28 U.S.C. § 1452(a) and Bankruptcy Rule 9027.

Dated: July 11, 2020.

                                                       Respectfully submitted,

                                                       JONES MURRAY & BEATTY, LLP

                                                       By: /s/ Ruth Van Meter
                                                       Erin E. Jones
                                                       Texas Bar No. 24032478
                                                       Ruth Van Meter
                                                       Texas Bar No. 20661570
                                                       4119 Montrose Blvd, Suite 230
                                                       Houston, Texas 77006
                                                       Phone: 832-529-1999
                                                       Fax: 832-529-5513
                                                       erin@jmbllp.com
                                                       ruth@jmbllp.com

                                                       PROPOSED SPECIAL COUNSEL FOR JANET
                                                       S. NORTHRUP, CHAPTER 11 TRUSTEE OF
                                                       THE ESTATE OF WATSON GRINDING &
                                                       MANUFACTURING CO.




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                                           AND

                                    HUGHESWATTERSASKANASE, LLP

                                    By: /s/ Wayne Kitchens
                                    Wayne Kitchens
                                    Texas Bar No. 11541110
                                    Heather McIntyre
                                    Texas State Bar No. 24041076
                                    Total Plaza
                                    1201 Louisiana, 28th Floor
                                    Houston, Texas 77002
                                    Telephone: (713) 759-0818
                                    Facsimile: (713) 759-6834
                                    wkitchens@hwa.com
                                    hmcintyre@hwa.com

                                    PROPOSED COUNSEL FOR JANET S.
                                    NORTHRUP, CHAPTER 11 TRUSTEE OF THE
                                    ESTATE OF WATSON GRINDING &
                                    MANUFACTURING CO.

                                           AND

                                    McCOY LEAVITT LASKEY LLC

                                    By: /s/ Michael I. Ramirez
                                    Michael I. Ramirez
                                    Texas Bar No. 24008604
                                    20726 Stone Oak Parkway, Suite 116
                                    San Antonio, TX 78258
                                    Telephone (210) 446-2828
                                    Fax (262) 522-7020
                                    mramirez@mlllaw.com

                                    COUNSEL FOR WATSON GRINDING &
                                    MANUFACTURING CO.




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                                     CERTIFICATE OF SERVICE

       I certify that on July 11, 2020, a true and correct copy of the foregoing Notice was served via
ECF/PACER to all parties registered to receive such service and on July 13, 2020, via first class mail
(without attachments) to the following:


 McMillan Firm, P.L.L.C                               McCoy Leavitt Laskey LLC
 Chance A. McMillan                                   John V. McCoy
 440 Louisiana Street, Suite 1200                     Michael I. Ramirez
 Houston, Texas 77002-1691                            N19 W24200 Riverwood Dr., Suite 125
                                                      Waukesha, WI 53188
 The Law Offices of Hilda Sibrian, P.C.
 Hilda Sibrian                                        ATTORNEYS FOR WATSON GRINDING &
 846 North Loop,                                      MANUFACTURING CO.
 Houston, Texas 77009
                                                      Gieger, Laborde & Laperouse L.L.C.
 ATTORNEYS FOR PLAINTIFFS                             Ernest P. Gieger, Jr.
                                                      701 Poydras Street, Suite 4800
                                                      New Orleans, Louisiana 70139

                                                      ATTORNEYS FOR WATSON VALVE
                                                      SERVICES, INC.
 Jackson Walker L.L.P.
 Bruce J. Ruzinsky
 1401 McKinney, Suite 1900
 Houston, Texas 77010

 The Silvera Firm
 Robert C. Turner
 17070 Dallas Parkway, Suite 100
 Dallas, Texas 75248

 ATTORNEYS FOR KMHJ, LTD. AND KMHJ
 MANAGEMENT COMPANY, LLC




                                                        /s/ Ruth Van Meter
                                                        Ruth Van Meter




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                          EXHIBIT A
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                                       Harris County Docket Sheet


2020-39950
COURT: 125th
FILED DATE: 7/6/2020
CASE TYPE: Other Injury or Damage

                                    SANTILLANA, JUAN
                                 Attorney: MCMILLAN, CHANCE ALLEN

                                                vs.
                              WATSON VALVE SERVICES INC


                                       Docket Sheet Entries
         Date          Comment




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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this July 11, 2020


     Certified Document Number:        91190546 Total Pages: 25




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406.013 electronically transmitted authenticated
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please e-mail support@hcdistrictclerk.com
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                                                                                                                            Marilyn Burgess - District Clerk Harris County
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                                                                                                                                                 Filed: 7/9/2020 3:02 PM

                                                                                        CAUSE NO. 2020-39950

                                                    JUAN SANTILLANA, LAURA                                    §   IN THE DISTRICT COURT OF
                                                    SANTILLANA, LAURA SANTILLANA                              §
                                                    AND MICHELLE SANTILLANA                                   §
                                                         Plaintiffs,                                          §
                                                                                                              §
                                                     vs.                                                      §
                                                                                                              §
                                                     WATSON VALVE SERVICES, INC.,                             §
                                                     WATSON GRINDING AND                                      §
                                                     MANUFACTURING CO., KMHJ, LTD.,                           §
                                                     KMHJ MANAGEMENT COMPANY,                                 §
                                                     LLC, MATHESON TRI-GAS,                                   §
                                                     INC.,WESTERN INTERNATIONAL                               §     HARRIS COUNTY, TEXAS
                                                     GAS & CYLINDERS, INC., ARC                               §
                                                     SPECIALTIES, INC., AUTOMATION                            §
                                                     PLUS, INC., AUTOMATION PROCESS,                          §
                                                     INC., FIRESTONE CRYOGENICS,                              §
                                                     INC.; FIRESTONE CRYOGENIC                                §
                                                     EQUIPMENT, INC., TELEDYNE                                §
                                                     TECHNOLOGIES INC., f/k/a DETCON,                         §
                                                     INC., TELEDYNE EXPLORATION                               §
                                                     COMPANY, DETCON, INC. D/B/A                              §
                                                     OLDHAM, 3M COMPANY, TRCC, LLC,                           §
                                                     DATAONLINE, LLC, and INDUSTRIAL                          §
                                                     SCIENTIFIC CORPORATION,                                  §
                                                            Defendants.                                       §      125th JUDICIAL DISTRCT

                                                                         ORIGINAL ANSWER OF DEFENDANTS
                                                                  KMHJ, LTD. AND KMHJ MANAGEMENT COMPANY, LLC

                                                    TO THE HONORABLE JUDGE OF SAID COURT:

                                                           COMES NOW, KMHJ, LTD and KMHJ MANAGEMENT COMPANY, LLC, and subject
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                                                    to Watson Valve Services, Inc.’s and Watson Grinding and Manufacturing Co.’s bankruptcy

                                                    proceedings and Motions to Stay, and any pending Temporary Restraining Orders or Temporary

                                                    Injunctions, and files this, their Original Answer to Plaintiffs’ Original Petition and would

                                                    respectfully show the court and the parties as follows:




                                                    ORIGINAL ANSWER OF DEFENDANTS
                                                    KMHJ, LTD. AND KMHJ MANAGEMENT COMPANY, LLC                                                 Page 1
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                                                                                                    I.

                                                                                         GENERAL DENIAL

                                                           Defendants KMHJ, Ltd. and KMHJ Management Company, LLC generally deny each and

                                                    every, all and singular, the material allegations in Plaintiffs’ petition and demand strict proof

                                                    thereof by a preponderance of the evidence. Defendants hereby enter a General Denial.

                                                                                                   II.

                                                           Defendants KMHJ, Ltd. and KMHJ Management Company, LLC assert there is a defect

                                                    of parties. Defendants did not operate nor manage a manufacturing business or facility in Houston,

                                                    Harris County, Texas. Defendants did not own nor operate a business utilizing propylene or other

                                                    such chemicals.

                                                                                                   III.

                                                           Defendants KMHJ, Ltd. and KMHJ Management Company, LLC assert that Defendants

                                                    are not liable in the capacity in which they have been sued. Defendants did not operate nor manage

                                                    a manufacturing business or facility in Houston, Harris County, Texas. Defendants did not own

                                                    nor operate a business utilizing propylene or other such chemicals.

                                                                                                   IV.

                                                           Further pleading, Defendants allege the action in question and any resulting damages were

                                                    as a result of the acts or omissions of other named parties or entities and Defendants invoke the
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                                                    provisions of Texas Civil Practice Remedies Code, including but not limited to Chapter 33 and

                                                    §33.001; §33.002; §33.003; §33.004; §33.011; §33.012 and §33.013.

                                                                                                   V.

                                                           Further pleading, if necessary, Defendants allege and hereby invoke the privileges of

                                                    Chapter 41 of the Texas Civil Practice Remedies Code, including but not limited to §41.001;


                                                    ORIGINAL ANSWER OF DEFENDANTS
                                                    KMHJ, LTD. AND KMHJ MANAGEMENT COMPANY, LLC                                               Page 2
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                                                    §41.002; §41.002(a)(b)(c) and (d); §41.003; §41.004; §41.006; §41.007; §41.008; §41.009;

                                                    §41.010; §41.011; §41.012 and §41.013.

                                                                                                    VI.

                                                           Further pleading, if necessary, in the alternative, Defendants allege that they did not breach

                                                    any duty owed to Plaintiffs or any other party and any alleged acts or omissions of Defendants,

                                                    KMHJ, Ltd. and KMHJ Management Company, LLC and were not a proximate cause of the

                                                    alleged accident in question and the resulting damages.

                                                                                                   VII.

                                                           Further pleading, if necessary, in the alternative, Defendants assert all available defenses

                                                    under §41.0105 of the Texas Civil Practice Remedies Code; in addition to any other limitation or

                                                    law, recovery of medical or healthcare expenses incurred is limited to the amount actually paid or

                                                    incurred by or on behalf of Plaintiffs.

                                                                                                   VIII.

                                                           Further pleading, Defendants submit Plaintiffs’ claims for punitive damages, exemplary

                                                    damages, if any, are limited under the Texas Civil Practice and Remedies Code §41.008 with the

                                                    amount of recovery of exemplary or punitive damages not to exceed two times the amount of

                                                    economic damages, plus, an amount equal to any non-economic damages found by the jury, not to

                                                    exceed the sum of $150,000; or $200,000. See Texas Civil Practice Remedies Code §41.008.
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                                                    Plaintiffs further may not recover any interests from any award of punitive or exemplary damages.

                                                    See Texas Civil Practice Remedies Code §41.007.

                                                                                                    IX.

                                                           Further pleading, Defendants argue any award of punitive or exemplary damages is

                                                    unconstitutional and that the award of such damages constitutes punishment and violation of the


                                                    ORIGINAL ANSWER OF DEFENDANTS
                                                    KMHJ, LTD. AND KMHJ MANAGEMENT COMPANY, LLC                                                  Page 3
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                                                    Eighth Amendment of the United States Constitution. Plaintiffs’ claims for punitive or exemplary

                                                    damages violates both the U.S. and Texas Constitutions guaranteeing the right to due process as

                                                    provided in the Fifth and Fourteenth Amendments of the United States Constitution, in addition to

                                                    Article One, Section Nineteen of the Texas Constitution.

                                                                                                    X.

                                                            Further pleading, punitive and exemplary damages violate the double jeopardy clause of

                                                    the Fifth Amendment to the United States Constitution. Plaintiffs’ claim for punitive or exemplary

                                                    damages also violates Defendants’ right to protection from being subjected to excessive fines, as

                                                    provided in Article One, Section Thirteen of the Texas Constitution. Claims for punitive damages

                                                    should be separated from compensatory damages in a bifurcated trial. Otherwise, evidence

                                                    admissible on the question of punitive damages may inflame and destroy a jury’s assessment of

                                                    compensatory damage liability.

                                                            WHEREFORE, PREMISES CONSIDERED, Defendants pray that Plaintiffs recover

                                                    nothing of and from Defendants, and Defendants be discharged to go hence without delay and

                                                    recover their cost, that Plaintiffs’ claims and/or causes of action be dismissed, and for such other

                                                    and further relief to which Defendants, KMHJ, Ltd. and KMHJ Management Company, LLC may

                                                    be justly entitled.
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                                                    ORIGINAL ANSWER OF DEFENDANTS
                                                    KMHJ, LTD. AND KMHJ MANAGEMENT COMPANY, LLC                                                 Page 4
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                                                                                                       Respectfully submitted,


                                                                                                       THE SILVERA FIRM
                                                                                                       A Professional Corporation

                                                                                                       BY:     /s/ Robert C. Turner
                                                                                                               Robert C. Turner
                                                                                                               State Bar No. 00791831
                                                                                                               17070 Dallas Parkway, Suite 100
                                                                                                               Dallas, Texas 75248
                                                                                                               Telephone (972) 715-1750
                                                                                                               Facsimile (972) 715-1759
                                                                                                               robertturner@silveralaw.com
                                                                                                               notice@silveralaw.com

                                                                                                       ATTORNEYS FOR DEFENDANTS
                                                                                                       KMHJ, LTD., and KMHJ MANAGEMENT
                                                                                                       COMPANY, LLC

                                                                                   CERTIFICATE OF SERVICE

                                                             The undersigned hereby certifies that a true and correct copy of the foregoing document
                                                    was served upon counsel of record in accordance with the Texas Rules of Civil Procedure on this
                                                    the 9th day of July 2020.

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CertifiedDocumentNumber:91239844-Page5of5




                                                                                                               /s/ Robert C. Turner
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                                                    ORIGINAL ANSWER OF DEFENDANTS
                                                    KMHJ, LTD. AND KMHJ MANAGEMENT COMPANY, LLC                                              Page 5
                                                    RCT/CJR
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this July 11, 2020


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     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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